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                        EXPERT REPORT
                              OF
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                      University of Montana, Missoula




           Kelsey Cascadia Rose Juliana; Xiuhtezcatl Tonatiuh M.,
            through his Guardian Tamara Roske-Martinez; et al.,
                                 Plaintiffs,

                                        v.

                 The United States of America; Donald Trump,
        in his official capacity as President of the United States; et al.,
                                   Defendants.

               IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF OREGON

                        (Case No.: 6:15-cv-01517-TC)




              Prepared for Plaintiffs and Attorneys for Plaintiffs:


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                TABLE OF ACRONYMS AND ABBREVIATIONS

BAU:     business as usual
C:       Celsius
CMIP:    Coupled Model Intercomparison Project
CO2:     carbon dioxide
CPI:     Consumer Price Index
EOS:     Earth Observing System
F:       Fahrenheit
GCM:     general climate model
GHG:     greenhouse gas
IPCC:    Intergovernmental Panel on Climate Change
m:       meter
NASA:    National Aeronautics and Atmospheric Administration
NCA:     National Climate Assessment
NOAA:    National Oceanic and Atmospheric Administration
NTSG:    Numerical Terradynamic Simulation Group
ppm:     parts per million
PM2.5:   particulate matter 2.5
RCP:     representative concentration pathways
SERS:    Special Report on Emissions Scenarios
SLR:     sea level rise
SWE:     snow water equivalent
SWIPA:   Snow, Water, Ice and Permafrost in the Arctic
SWR:     snow water equivalent




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                                        INTRODUCTION
I, Steven W. Running, have been retained by Plaintiffs in the above-captioned matter to provide
expert testimony regarding how human-caused CO2 emissions are harming terrestrial
ecosystems, human communities, and the Plaintiffs themselves. I will discuss projections for the
future should emissions continue on a business as usual (BAU) course and the means of
preventing the worst of the impacts we project throughout the century.

I received my Ph.D. (1979) in Forest Ecology from Colorado State University. Since 1979, I
have been with the University of Montana, where I retired in 2017 and now am a University
Regents Professor Emeritus of Global Ecology in the College of Forestry and Conservation. I
founded the Numerical Terradynamic Simulation Group (NTSG) at the University of Montana in
1983. My primary area of research is the development of global and regional ecosystem
biogeochemical models integrating remote sensing with bioclimatology and terrestrial ecology. I
am a Team Member for the NASA Earth Observing System (EOS), Moderate Resolution
Imaging Spectroradiometer, and I am responsible for the EOS global terrestrial net primary
production and evapotranspiration datasets.

I have published over 300 scientific articles and two books, and have been honored with several
awards, including the E.O. Wilson Biodiversity Technology Pioneer Award, and the W.T. Pecora
award for lifetime achievement in Earth remote sensing from NASA and US Geological Survey.
I have served on the standing Committee for Earth Studies of the National Research Council and
on the federal Interagency Carbon Cycle Science Committee. I have also served as a Co-Chair of
the National Center for Atmospheric Research Community Climate System Model Land
Working Group, a Member of the International Geosphere-Biosphere Program Executive
Committee, and the World Climate Research Program, Global Terrestrial Observing System. I
just completed serving on the advisory NASA Earth Science Subcommittee, and the NOAA
Science Advisory Board Climate Working Group.

In 2007 I shared the Nobel Peace Prize as a chapter Lead Author for the 4th Assessment of the
Intergovernmental Panel on Climate Change (IPCC). I am an elected Fellow of the American
Geophysical Union and am designated a Highly Cited Researcher by the Institute for Scientific
Information.

The opinions expressed in this report are my own, and not the opinions of any of the institutions
for which I work or donate my time. The opinions expressed herein are based on the data and
facts available to me at the time of writing and are to a reasonable degree of scientific certainty,
unless otherwise specifically stated. Should additional relevant or pertinent information become
available, I reserve the right to supplement the discussion and findings in this expert report in
this action.

My CV is contained in Exhibit A to my expert report in this action. A list of publications I
authored within the last ten years is attached as Exhibit B to my expert report. A statement of
my previous testimony within the preceding four years as an expert at trial or by deposition is
contained in Exhibit C to my expert report.




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In preparing this report, I have reviewed a number of documents. My report contains a list of
citations to the documents that I have used or considered in forming my opinions, listed in
Exhibit D. In particular, the most definitive summaries of the scientific information that formed
the basis of my opinions are the IPCC reports, and I reviewed the most recent report, the 5 th,
published in 2013. It is important to note that while the IPCC is an important resource, the
extensive pre-publication review often results in rather conservative conclusions. It has often
underestimated the most dangerous climate change risks within projections. I also read the US
National Climate Assessment of 2014, of which I was a lead author of the Forests chapter. On
impacts to the Pacific Northwest, I read Climate Change in the Northwest: Implications for Our
Landscapes, Waters, and Communities. (Litell et al. 2013). Most recently I reviewed the Arctic
Monitoring and Assessment Program’s 2017 Snow, Water, Ice and Permafrost in the Arctic
(SWIPA) Assessment Summary for Policy-makers, published in April, 2017, and the 4th National
Climate Assessment, titled “Climate Science Special Report” (USGCRP 2017).
Also attached hereto are Exhibits E–G, time-lapse series and accompanying documentation,
which support my expert opinion on the effects of climate change on insect epidemics in forests.
In preparing my expert report and testifying at trial, I am not receiving any compensation and am
providing my expertise pro bono to the Plaintiffs given the financial circumstances of these
young Plaintiffs.  

                                   EXECUTIVE SUMMARY
The Federal Defendants and their predecessors have been actively studying human-induced
climate change since the 1950s, although scientists have been researching and publishing on the
greenhouse effect from burning fossil fuels throughout the early 1900s as well. Due to the
Federal Government’s mounting concerns about climate change, the Energy Security Act of
1980 triggered a host of scientific reports on the future and potential impact of carbon emissions
on global climate. Since then, the Federal Government has been convening formal scientific
reports on global warming by the National Research Council, the Department of Energy, the
Environmental Protection Agency, the interagency US Global Change Research Program and
others.

Beginning in 1981, I was part of the NASA planning for Mission to Planet Earth that resulted in
building and deploying the Earth Observing System that to this day provides key global change
datasets (NASA 1983). It is remarkable that in these 1980-1983 reports, many of the main
impacts of climate change, sea level rise, ice sheet melting, glacial retreat, droughts and floods,
agricultural and ecosystem disruption were already identified and expected. It is poignant that the
Federal Defendants were concerned about atmospheric CO 2 having already risen to 340 ppm and
the dangers associated with even that rise. It is now fluctuating around 407–410 ppm.

The Federal Defendants fully acknowledge this history of active and open enquiry on future
global climate instability, and these reports laid the strategic foundation for climate and carbon
cycle science ever since then. Many of the specific climate science questions these committees
posed in 1980 have long been answered and unequivocally conclude that the burning of fossil
fuels is a central cause of climate change. A more difficult challenge for the scientific
community has been to monitor comprehensively how these emerging climate trends are


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impacting, and will impact, the biosphere with the multiple complexities and interactions of
ecosystems. This expert report documents some of the impacts on terrestrial ecosystems already
evident. Projecting the rate of future impacts, and identifying potentials for possible ecosystem
collapse are topics of ongoing research, but we are able to look at current trends to conclude that
if BAU emissions continue, or if emissions are only slightly reduced, the future impacts will be
severe.

The influence of the increase of greenhouse gases in the atmosphere brought on by burning fossil
fuels was predicted in 1896, when atmospheric CO2 levels were ~280 ppm, and is now well
underway. Atmospheric CO2 is now at ~407–410 ppm with regional and seasonal variation, and
increasing about 2 ppm/year. The resulting increase in global air temperatures is now well
documented at almost 1° Celsius (C) above preindustrial temperatures and rising. Impacts of the
global warming trend are already measureable in the western United States. This report
summarizes hydrologic and ecological impacts in the western United States, with added
emphasis on the Pacific Northwest and Colorado where many of the Plaintiffs live and recreate.
These impacts pose an unusually serious risk of harm to youth Plaintiffs and future generations.

   1. As an overall summary, in the last 50 years, winter has become two weeks shorter, and
      summer two weeks longer in the western United States. By mid-century general climate
      model (GCM) projections state that winter will be two additional weeks shorter, and that
      trend will continue at least until the end of the century.
   2. Spring snowmelt begins two weeks earlier than 50 years ago, and spring riverflow peaks
      are likewise earlier.
   3. The lowest streamflows in late summer are now 20–30% lower than historic periods.
      These exceptional low waterflows increase water temperatures to lethal levels for
      coldwater fish like trout and salmon. Warmer water also retains less dissolved oxygen for
      aquatic species.
   4. With longer summer periods, that are also hotter in the West, the wildfire season is 2–3
      months longer than 40 years ago. Biomass fuels dry to combustible levels at higher
      elevations that used to have snowcover until July, and fuels at all elevations are drier
      because of higher atmospheric evaporation.
   5. The longer, more active wildfire season is producing public health problems from smoke
      and particulate inhalation and is causing significant property loss.
   6. The longer drier summers are dehydrating and stressing forests, which are now
      succumbing to epic insect outbreaks and forest mortality over 12 states.
   7. The overwintering survival of insect larvae has increased substantially, allowing the
      beetle populations to expand more quickly than before.
   8. Climate and particularly snow-sensitive wildlife are becoming more vulnerable to
      predation and nesting failure. As the duration of snowcover continues to shrink, these
      animals become phenologically mismatched with their habitat.
   9. Recreational opportunities for winter sports are declining in pace with declining
      snowcover.

Future projections of increasing atmospheric CO2 will continue the geographic expanse and
severity of these negative impact trends for the foreseeable future, absent immediate efforts to
drastically reduce GHG emissions.



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                                     EXPERT OPINION
                  PART A: ANALYSIS OF DIRECT MEASUREMENTS
1.     Anthropogenic CO2 emissions with other GHGs are causing warming of Earth’s
       surface and climate change.

In 1896, Svant Arrhenius, a Swedish chemist, understanding the basic physics of how molecules
like CO2 differentially transmit shortwave solar radiation, but absorb longwave thermal
radiation, postulated that the then new practice of burning fossil fuels emitting CO 2 could one
day warm the global atmosphere. In 1958, Dr. David Keeling began the modern monitoring of
atmospheric CO2 at Mauna Loa, Hawaii, a remote location not near any local CO2 sources. As
Arrhenius postulated, the monitoring data proved that CO2 has continued to rise every year from
1958 to the present from an initial concentration of 316 ppm in 1958, to an annual average level
of 407 ppm in 2017 (Figure 1).




Figure 1. Atmospheric CO2 concentration measured at Mauna Loa observatory from 1958 to the
present. (https://www.esrl.noaa.gov/gmd/ccgg/trends/full.html).




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The Mauna Loa measurements are now replicated at dozens of stations worldwide, all of which
confirm the growing CO2 concentrations, and the global average CO2 for 2017 was 407 ppm.

The continuous rise in atmospheric CO2 has in fact caused global, and national air temperatures
to rise, as measured by US weather stations. The 2017 National Climate Assessment (USGCRP
2017) found that global air temperatures had risen by 1.8° F since 1901. It is irrefutable and well
known for over ten decades that as CO2 concentrations increase, the surface of the planet warms
and the oceans warm. That global warming causes climate change and has many harmful effects
on ecosystems and humans is discussed below. It is as if the Earth has a constant fever, and just
as in the human body, even a slight rise in temperature weakens the organism, increases
vulnerability of the organism, and can have dangerous long-term effects on the system.

2.     Annual and seasonal temperature averages have changed globally and in the United
       States as a result of climate change.

Since 1960, global average air temperature has shown a progressive increase in temperatures
(Figure 2). To quote from the official climate website of the Federal Defendant Department of
Commerce’s National Oceanic and Atmospheric Administration (NOAA):
       The monthly global land and ocean temperatures at the start of 2017 were
       extremely warm, with the first four months each ranking as the second warmest
       for their respective months, behind the record year 2016. Of particular note, the
       global land and ocean temperature for the month of March 2017 was 1.03°C
       (1.9°F) above the 20th century average—this marked the first time the monthly
       temperature departure from average surpassed 1.0°C (1.8°F) in the absence of an
       El Niño episode in the tropical Pacific Ocean. After reaching its peak monthly
       temperature departure from average in March, temperatures began to slowly
       decrease in magnitude, ranging between +0.73°C to +0.88°C (+1.31°F to
       +1.58°F). The last four months each ranked among the four warmest on record,
       giving way to 2017 becoming the third warmest year in NOAA's 138-year record.
       The 2017 average global temperature across land and ocean surface areas was
       0.84°C (1.51°F) above the 20th century average of 13.9°C (57.0°F), behind the
       record year 2016 (+0.94°C / +1.69°F) and 2015 (+0.90°C / +1.62°F; second
       warmest year on record) both influenced by a strong El Niño episode. The year
       2017 is also the warmest year without an El Niño present in the tropical Pacific
       Ocean.
       2017 also marks the 41st consecutive year (since 1977) with global land and
       ocean temperatures at least nominally above the 20th century average, with the
       six warmest years on record occurring since 2010. Since the start of the 21st
       century, the global temperature has been broken five times, three of those being
       set back to back (2014–2016). The yearly global land and ocean temperature has
       increased at an average rate of 0.07°C (0.13°F) per decade since 1880; however,
       the average rate of increase is twice as great since 1980. From 1900 to 1980 a



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       new temperature record was set on average every 13.5 years; however, since
       1981 it has increased to every 3 years.1




Figure 2. Global temperature changes aggregated decadaly. (NCDC/NESDS/NOAA).

The US 4th National Climate Assessment (USGCRP 2017) has summarized the trend in
temperatures and precipitation since 1895. (Figures 3 and 4). It is important to note that in the
arid West, even though precipitation has increased in some regions somewhat over the last
century, temperatures and atmospheric evaporation have increased even faster. Hence, much of
the West is slowly drying out. For example, based upon my review of the statements of Plaintiff
Jaime Lynn, Jaime had to move from her home on the Navajo Reservation in Cameron to
Flagstaff, Arizona because the springs they depended on for water were drying up and they were
unable to sustain their farm and animals. That pattern of drought in places like arid Arizona is
directly linked to climate change. Similarly, based upon my review of the statements of Plaintiffs
Alex and Jacob, they both have family farms outside of Roseburg, Oregon and are regularly
threatened with drought, increased heat and wildfires, making farming conditions more


1
 NOAA, Global Climate Report – Annual 2017, Global Temperatures at
https://www.ncdc.noaa.gov/sotc/global/201713.


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challenging. The increasing severity of drought conditions in Oregon are a direct function of
climate change.

Figures 3 and 4 summarize the trends in temperature and precipitation recorded at the nation’s
weather stations over the last century, compiled for the 4th National Climate Assessment
(USGCRP 2017).




Figure 3. Trend in weather station air temperatures from 1901–2016. Observed changes in
annual, winter, and summer temperature (°F). Changes are the difference between the average
for present-day (1986–2016) and the average for the first half of the last century (1901–1960 for
the contiguous United States, 1925–1960 for Alaska and Hawai’i). Estimates are derived from
the nClimDiv dataset.1, 2 (Figure source: NOAA/NCEI). (USGCRP 2017).




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Figure 4. Trends in weather station precipitation from 1901–2016. Annual and seasonal
changes in precipitation over the United States. Changes are the average for present-day (1986–
2015) minus the average for the first half of the last century (1901–1960 for the contiguous
United States, 1925–1960 for Alaska and Hawai‘i) divided by the average for the first half of the
century. (Figure source: [top panel] adapted from Peterson et al. 2013,78 © American
Meteorological Society. Used with permission; [bottom four panels] NOAA NCEI, data source:
nCLIMDiv]. (USGCRP 2017).

John Wesley Powell, in the 1860s observed that western ecosystems, which I define as west of
the 100th meridian, are fundamentally water limited, with potential evaporation exceeding actual
rain and snowfall by 1–5m/yr, and climate change is increasing these water deficits. Much of the
Western United States relies on snowpacks that accumulate over 4–6 months in the winter to
melt in the spring and provide water through the summertime, where unlike in the Eastern United
States, rather little rain falls. Although there is regional and interannual variability, as a simple
regional summary, on average the winter is now two weeks shorter and the summer two weeks
longer than 50 years ago. Projections are that by mid-century we will see another two weeks


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shorter winter and longer summer. That change brings significant ecological consequences
(Figure 5).

           a. Reduced snowpack and reduced summer flows in rivers

The NCA 2014 found that winter snowpacks across the northern tier of the country begin
melting on average 14 days earlier than in 1950. Winter snowpacks are also far less dependable
at lower elevations because of the higher mean temperatures, which lead to more days above the
freezing level and more winter rain events than during the prior century. Boisvenue and Running
(2010) found that Boise Idaho, at 857m elevation, and Missoula, MT, 1042m elevation, by the
end of this century will not have sustained winter snowpacks.




Figure 5. Shift in calendar date that spring snowmelt commences. (Data from Barnett et al.
(2008) and Mote et al (2005), graphed by Climate Central. http://www.climatecentral.org/).

One immediate consequence of this trend is shortening the winter sports recreation season for
skiing, ice fishing, snowmobiling, etc. Ski areas like Hoodoo Pass and Willamette Pass in
Oregon, where Plaintiff Zealand recreates and his family has been employed, and Stevens Pass in
Washington, where Plaintiff Aji recreates, have recently had years with so little snow the areas
could not even open for business. In contrast, in the 1960s when I skied at Stevens Pass and


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Snoqualmie Pass in Washington as a high school student, the snowpack was regularly above the
top of the school bus. Some lower elevation ski areas, like Marshall Mountain in Montana, have
simply gone out of business because snowcover was so undependable.

The Oregon Climate Assessment Report (OCAR 2017) documented some important impacts of
low snowpack from the summer of 2015 that are harbingers of future climate impacts.

       In 2015, Oregon was the warmest it has ever been since record keeping began in
       1895. (NOAA, 2017). Precipitation during the winter of that year was near
       normal, but winter temperatures that were 5–6°F above average caused the
       precipitation that did fall to fall as rain instead of snow, reducing mountain
       snowpack accumulation (Mote et al., 2016). This resulted in record low snowpack
       across the state, earning official drought declarations for 25 of Oregon’s 36
       counties. . . . Drought impacts across Oregon were widespread and diverse:

              • Farmers in eastern Oregon’s Treasure Valley received a third of their
              normal irrigation water because the Owyhee reservoir received
              inadequate supply for the third year in a row (Stevenson, 2016).
              • The 2015 fire season was the most severe in the Pacific Northwest’s
              recorded history with more than $560 million in fire suppression costs
              (Sexton et al., 2016).
              • After not opening at all in 2014, Mount Ashland Ski Area had to make
              snow in order to open in 2015 (Stevenson, 2016).
              • Detroit Lake saw a 26% decrease in visitation due to low water levels
              and unusable boat ramps (Wisler, 2016).
              • People near the Upper Klamath Lake were warned not to touch the
              water as algal blooms that thrived in the low flows and warm waters
              produced extremely high toxin levels (Marris, 2015).
              • More than half of the spring spawning salmon in the Columbia River
              perished, likely due to a disease that thrived in the unusually warm waters
              (Fears, 2015).
              • In Washington, the 2015 snow drought resulted in crop losses amounting
              to an estimated $212.4 million for wheat, $86.5 million for apples, $13.9
              million for raspberries, and $10.6 million for blueberries (McLain and
              Hancock, 2015).

                                          ***

       Oregon’s temperatures, precipitation, and snowpack in 2015 are illustrative of
       conditions that, according to climate model projections, may be considered
       “normal” by mid-century. With continued warming, this type of drought in which
       snowpack is low, but precipitation is near normal, should be expected more often
       in the future. In fact, for each 1.8°F of warming, peak snow water equivalent in
       the Cascade Range can be expected to decline 22%–30% (Cooper et al., 2016).
       The 2015 drought in Oregon provided a salient test on the capacity of existing




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       systems to tolerate such drought and gave insights into potential future
       adaptation priorities.2

Spring river runoff is occurring about two weeks earlier across the western U.S. compared to the
1950s, and now is often occurring before the water is needed for crop irrigation. Mean annual
streamflow across the Pacific Northwest has decreased between the mid-20th century and the
early-21st century, with the greatest decreases in summer (McCabe and Wolock 2014; Sagarika
et al. 2014, OCAR 2017). More damaging is that the late summer lowest river flows are now
frequently becoming dangerously low, causing drops in dissolved oxygen in the water and
increased water temperatures that hurt trout and salmon populations. High stream temperatures
will continue to impair the ability of anglers, including Jacob and Alex, to fish for recreation and
consumption on local rivers due to impacts to the health of fisheries. This will also impair the
ability of Avery and Hazel to watch and enjoy salmon in their local rivers in Eugene, Oregon.
Leppi et al. (2008) found that 89% of rivers of Montana show declines in seasonal low flows in
August in the period 1950–2008. The August flowrates in these Montana rivers now average
23% lower than in the 1960s (Leppi et al. 2008).

As an example, periodic droughts, such as the 5-year drought in California, have reduced the
reservoir levels of Lakes Powell and Mead, the two biggest water storage facilities for the
Colorado River that serve the desert Southwest (Barnett and Pierce 2008). As of March 2018,
Lake Mead is at 41.33% of capacity,3 and Lake Powell is now at 53.48% of full pool.4 To refill
them will require sustained river runoff in excess of human demand; it is likely that they will
never refill completely again.

           b. Aquatic habitat impacts

Sustained stream temperatures above 68°F are lethal to cold-water fish like trout and salmon, and
can occur with declining snowpack and warmer summers (OCAR 2017, Service 2015). In the
interior Columbia River Basin (largely in Idaho and western Montana), suitable bull trout habitat
is projected to decline about 90% by the 2080s compared with present suitable habitat area
(Kovich et al. 2015, Wenger et al. 2013). Migration timing for smolts getting ready to migrate to
the ocean could be desynchronized by earlier peak streamflow timing from earlier melting of the
snowpack (Wainwright and Weitkamp 2013). During the last sixty years, streamflow variability
increased and, compared with other environmental changes, had the largest negative effect on
Chinook salmon populations in the Northwest (Ward et al. 2015), which negatively affects
Plaintiffs Avery’s and Hazel’s ability to watch salmon spawning in creeks in Oregon.




2 Oregon Climate Change Research Institute. 2017. The Third Oregon Climate Assessment
Report, at 13. http://www.occri.net/media/1042/ocar3_final_125_web.pdf.
3 Lake Mead Water Database, Water Summary, http://lakemead.water-data.com/ (last visited

Mar. 27, 2018).
4 Lake Powell Water Database, Water Summary, http://lakepowell.water-data.com/ (last visited

Mar. 27, 2018).


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3.     Terrestrial ecosystem impacts already measured due to accelerating disturbances
       from climate change.

Climate change is already showing complicated impacts on western ecosystems due to the
multiple non-linear interacting processes that govern ecosystem function. Running and Nemani
(1991) illustrated how it is possible for western evergreen forests to grow faster, yet still endure
more summer water stress, and then ultimately die from accelerated disturbance rates. Reeves et
al. (2014) project a complicated response for western rangelands, with some increasing growth
while others decrease. While John Wesley Powell in 1860 characterized the climatic aridity of
the West, a functional relationship between the land water balance and ecosystem structure and
function was first defined by Grier and Running (1977). They showed that precipitation itself is
not the key driver of western ecosystems, but the net water balance between input precipitation
and the output of atmospheric evaporative demand. Ecosystems grow in a dynamic equilibrium
with the prevailing land water balance, and when that water balance declines, the ecosystem, and
the individual plants become stressed. Plant water stress is conceptually similar to human
dehydration. A dehydrated organism is weakened, less able to fight off attacks, and if the
dehydration lasts long enough, the organism, whether plant or human, dies. Western ecosystems
are already withstanding an acceleration of disturbance rates (Figure 6).




Figure 6. An example of the variability and distribution of major ecosystem disturbance types in
North America, compiled from 2005 to 2009. Forest disturbance varies by topography,
vegetation, weather patterns, climate gradients, and proximity to human settlement. Severity is
mapped as a percent change in a satellite-derived Disturbance Index. White areas represent
natural annual variability, orange represents moderate severity, and red represents high


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severity. Fire dominates much of the western forest ecosystems, and storms affect the Gulf Coast.
Insect damage is widespread but currently concentrated in western regions, and timber harvest
is predominant in the Southeast. (Figure source: modified from Goetz et al. 2012) (NCA 2014).

           a. Wildfire season is longer and impacts are more severe

Climate scientists have long known that increasing temperatures would increase drought
conditions and the combination of drier and hotter weather would mean more frequent and
severe wildfires. By 2006, scientists documented that the wildfire season in the western United
States was 87 days longer than it was in the 1980s (Westerling et al. 2006). The number of large
fires, >1000 acres, had grown four times, and the number of acres burned per year had increased
six times. Recent studies have found the global wildfire season increased 19% globally from
1979–2013, and the global area vulnerable to wildfire increased 108% (Jolly et al. 2015). This
will impact the many Plaintiffs in the West who suffer increased risk and severity of impacts
from wildfires near their homes, in places that they visit for recreation, and in the air they breathe
during the extended fire season, including Xiuhtezcatl, Jaime Lynn, Jacob, Sahara, Kelsey, Alex,
Zealand, Nick, Aji, Nathan, Hazel and Avery. The lengthening of the fire season is largely due to
declining mountain snowpack, earlier spring snowmelt and warmer summer temperatures. In the
Pacific Northwest, the fire season length increased over the last four decades, from 23 days in the
1970s, to 116 days in the 2000s (Westerling 2016). Abatzoglou and Williams (2016) found that
anthropogenic climate change from 1979–2015 added 55% to fuel aridity across western US
forests. Dennison et al. (2014) found that from 1984–2011, the area of fire scars, or burned area,
was increasing 355 km2/year in the western United States (Figure 7).




Figure 7. Trends in the annual number of large fires in the western United States for a variety of
ecoregions. The black lines are fitted trend lines. Statistically significant at a 10% level for all


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regions except the Snake Plain/Columbian Plateau, Basin and Range, and Mediterranean
California regions. (Figure source: Dennison et al.2014) (USGCRP 2017).

           b. Human health impacts

Wildfire smoke is having a deleterious effect aesthetically on atmospheric clarity and visibility in
the western national parks, such as the parks visited by Plaintiff Xuihtezcatl for spiritual and
recreational uses. In the late summer of 2017, wildfire smoke and ash also shrouded the city of
Seattle, where Plaintiff Aji lives,5 and much of Western Oregon, where Plaintiffs Avery, Hazel,
Sahara, Zealand, and Jacob live. (Figures 8, 9).




Figure 8. Photo of Plaintiffs Avery, Hazel, and Sahara in Eugene, OR on September 6, 2017
wearing masks to protect themselves from wildfire smoke.

Additionally, acute health effects are documented from breathing smoky air in western cities,
like the asthma attacks Plaintiff Sahara experiences. Smoke waves during 2004–2009 were
associated with a 7.2% increase in respiratory hospital admissions among adults aged 65 and
older in the western United States (Liu et al. 2016). Similarly, correlations were found between
wildfire-specific PM2.5 and emergency department visits for asthma and chronic obstructive
pulmonary disease during the 2012 wildfire season in Colorado (Alman et al. 2016) and the 2008
season in northern California (Reid et al. 2016). Across the western United States, PM2.5 levels
from wildfires are projected to increase 160% by mid-century under a medium emissions
pathway (SRES A1B) (Yue et al. 2013, Liu et al. 2016). This translates to a greater risk of

5Alan Blinder & Christina Caron, Seattle Chokes as Wildfire Smoke from Canada Blankets the
Northwest, N.Y. TIMES, August 7, 2017, at https://www.nytimes.com/2017/08/07/us/wildfires-
canada-seattle.html.


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wildfire smoke exposure through increasing frequency, length, and intensity of “smoke
waves”—that is, two or more consecutive days with high levels of PM2.5 from wildfires (Liu et
al. 2016).




Figure 9. Photo of Plaintiff Jacob on his farm outside Roseburg, OR on September 6, 2017
wearing a mask to protect himself from wildfire smoke.

There is already evidence of accelerating forest mortality in western forests, and this acceleration
is clearly tied to increasing temperatures and forest stress (Van Mentgem et al. 2009, Williams et
al. 2013). The Forest Chapter of the National Climate Assessment in 2014 (NCA 2014), of which
I was a Convening Lead Author, and the Northwest Regional chapter of the NCA 2014,
identified accelerating disturbance rates as the single most detrimental impact for U.S. forests
from climate change. For Plaintiffs Xiuhtezcatl, Jaime Lynn, Jacob, Sahara, Kelsey, Alex,
Zealand, Nick, Aji, Nathan, Hazel and Avery, and other young people, their ability to recreate in
many forests that they like to visit and that surround their homes is and will be harmed by the
changes to these forests, including the increased levels of forest mortality that are occurring and
are projected.

           c. Loss of property

The Congressional Research Service has recognized that “wildfires can damage timber resources
and soils and degrade water quality and watershed functions. Wildfires can also damage
communities, destroy homes, and lead to loss of human life.” 6 NOAA’s National Centers for

6Hoover, K., Congressional Research Service. 2017. Wildfire Management Funding:
Background, Issues, and FY 2918 Appropriations, at https://fas.org/sgp/crs/misc/R45005.pdf.


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Environmental Information reports that in 2017, “66,131 fires (7th least since 2000) burned
9,781,062 acres (3rd most on record), which is 147.9 acres burned/fire (2 nd most on record).”7 For
example, in late summer 2017, wildfires devastated many communities in Northern California,
causing significant loss of property, including the mobile home park where Plaintiff Zealand’s
grandmother lived and where Zealand spent many winter holidays (Figure 10).




Figure 10. Photo of Plaintiff Zealand’s Grandmother’s Mobile Home Park destroyed by wildfire
in Northern California in 2017.

The National Interagency Fire Center reported federal expenditures for wildfire fighting at
$2.918 billion in 2017, the highest on record. 8 NOAA has tracked billion dollar plus weather and
climate disasters in the U.S. for many years. According to NOAA’s National Centers for
Environmental Information:

       During 2017, the U.S. experienced a historic year of weather and climate
       disasters. In total, the U.S. was impacted by 16 separate billion-dollar disaster
       events tying 2011 for the record number of billion-dollar disasters for an entire
       calendar year. In fact, 2017 arguably has more events than 2011 given that our
       analysis traditionally counts all U.S. billion-dollar wildfires, as regional-scale,
       seasonal events, not as multiple isolated events.

       More notable than the high frequency of these events is the cumulative cost, which
       exceeds $300 billion in 2017 — a new U.S. annual record. The cumulative


7NOAA, NCDC. Wildfires – Annual 2017. https://www.ncdc.noaa.gov/sotc/fire/201713.
8National Interagency Fire Center. Federal Firefighting Costs (Suppression Only).
https://www.nifc.gov/fireInfo/fireInfo_documents/SuppCosts.pdf.


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       damage of these 16 U.S. events during 2017 is $306.2 billion, which shatters the
       previous U.S. annual record cost of $214.8 billion (CPI-adjusted), established in
       2005 due to the impacts of Hurricanes Dennis, Katrina, Rita and Wilma.9

NOAA specifically described the “Western Wildfires” and “California Firestorm” that occurred
in 2017:

       A historic firestorm damages or destroys over 15,000 homes, businesses and
       other structures across California in October. The combined destruction of the
       Tubbs, Atlas, Nuns and Redwood Valley wildfires represent the most costly
       wildfire event on record, also causing 44 deaths. Extreme wildfire conditions in
       early December also burned hundreds of homes in Los Angeles. Numerous other
       wildfires across many western and northwestern states burn over 9.8 million
       acres exceeding the 10-year annual average of 6.5 million acres. Montana in
       particular was affected by wildfires that burned in excess of 1 million acres.
       These wildfire conditions were enhanced by the preceding drought conditions in
       several states.10

           d. Bug epidemics (mountain pine beetle)

The largest forest insect epidemic in the world began in the forests of British Columbia in the
mid-1990s. This mountain pine beetle epidemic has now moved as far south as New Mexico, and
as of 2010 trees have been killed across 100 million acres of land (Raffa et al. 2008, Bentz et al.
2010), (Figures 11, 12), thereby impairing the ability of Plaintiffs Jaime Lynn and Xuihtezcatl to
spend time in and enjoy the national forests they use. The trigger for this unprecedented
epidemic is that milder winter temperatures have allowed beetle larvae to overwinter more
successfully with less mortality. Previously, a midwinter extreme temperature of -40° F,
occurring even only once per decade was sufficient to keep these populations low and not
growing (Regniere and Bentz 2007). The longer, warmer summers now allow beetle larvae to
complete more life cycles, allowing the population to multiply more quickly (Bentz et al. 2010).
While the insect populations are faring better under climate change, the host trees are being
stressed by the shorter winters and longer, hotter summers. This tree water stress, much like
human dehydration, weakens the tree, and limits its ability to produce pitch and defensive
chemicals to block the insect attacks (Hicke et al. 2012). The time-lapse series attached to my
expert report as Exhibits F–G accurately depict trees being killed by pine beetles, and the short
window of time in which it happens. These infestations can spread quickly through these forests,
causing vast swaths of die off.




9 NOAA, National Centers for Environmental Information. Billion-Dollar Weather and Climate
Disasters: Overview. https://www.ncdc.noaa.gov/billions/.
10 NOAA, National Centers for Environmental Information. Billion-Dollar Weather and Climate

Disasters: Table of Events. https://www.ncdc.noaa.gov/billions/events/US/1980-2017.


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Figure 11. Cumulative effects of western spruce budworm and mountain pine beetle on tree
defoliation and mortality in forests of Oregon and Washington (1970–2012). Total forested
area is about 25 million hectares, and these two insects affected 8 million hectares according
to aerial surveys. Beetle overlaps budworm activity in this display. (Figure source: Garrett
Meigs; data source: Meigs et al., 2015) (OCAR 2017).




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Figure 12. Recent mortality of forests in major western biomes to three species of bark beetles.
(Raffa et al. 2008, Bentz et al 2010).

           e. Impacts on wildlife: adaptation is not always possible.

Climate change is impacting wildlife on a wide scale now. A recent study (Ceballos et al. 2017)
analyzed population data for 27,600 species worldwide. They found 32% have had significant
population and geographic range declines. Of the 177 mammals in the study, all had lost at least
30% of their geographic range. The authors point out that even before total species extinction,
significant declines in populations are occurring already. Much of this geographic range decline
is because climate change is changing seasonal cycles, water and food availability, and stress
tolerance limits of the animals.

While some species like coyotes are very adaptable, others have very tight ecological niches.
Climate change affects wildlife in a variety of ways; some species will be more sensitive to
climate change than others (Case et al. 2015). At-risk species generally have higher sensitivity
scores than those species without Endangered Species Act designations (Case et al. 2015).
Dependence on climate-sensitive habitats (such as seasonal streams, wetlands and vernal pools,
seeps and springs, alpine and subalpine areas, grasslands and balds) is a large driver of species
sensitivity (Case et al. 2015). The American pika is a relatively small mammal, and is active
during the day but is intolerant of high temperatures. The pika is considered highly sensitive to
climate change due in large part to its dependence on subalpine habitat and snow cover, which is
also projected to decline (Case et al. 2016). In the Great Basin, American pika distribution has
changed during the 2000s, primarily at the edges of its range, owing largely to decreases in


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maximum snowpack and growing season precipitation. As American pika shift to more
climatically suitable habitat, they may be impeded by topographic relief, water features, and high
heat exposure of west-facing slopes, as found in a study at Crater Lake (Castillo et al. 2014).




Figure 13. Illustration of the risk of mistimed seasonal coat color change in some animals.
Climate change is increasing this risk to these animals (Mills et al. 2013, Mills et al. 2018).

Shifts in annual timing of life history events are a common response of plant and animal
populations to climate change (Mills et al. 2013, Mills et al. 2018). In many cases, these
phenological shifts span multiple trophic levels, creating mistiming as animal reproduction,
hibernation emergence, or migration become detached from peak timing of food or habitat
structure. A much more direct phenological mismatch could occur for the mammal species that
molt seasonally from brown to white so that coat color tracks the presence of snow, known as
cryptic coloration (Figure 13). A decrease in the number of days with seasonal snow on the
ground is one of the temperate region’s strongest climate change indicators. Mills et al. (2013),


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studying snowshoe hares in Montana, used downscaled CMIP5 GCM projections to evaluate
potential for the seasonal color change of these hares to become mismatched with seasonal
snowfall. Mills et al. found that seasonal snowpack duration in this region is expected to
decrease 29–35 days by mid-century, and 40–69 days by 2100. More critically, this snowpack
change is four times faster at midcentury and eight times faster by late century than the observed
phenotypic plasticity of these hares. As the pictures illustrate, this timing mismatch makes these
hares highly vulnerable to their local natural predators.

                        PART B: INTERPRETING PROJECTIONS
1.     Future Projections of climate and ecosystem impacts for the western United States

Klos et al. (2014) project that by mid-century with a BAU emissions pathway (RCP 8.5) that 53–
34% of the western United States that receives snowfall currently will be lost, changed to winter
rainfall, and that the time of annual snowcover in the West will drop from 5 months to 3 months.
A similar study by Naz et al. (2016) projects overall 25 days of less snowcover by mid-century in
the West. Boisvenue and Running (2010) projected that spring snowmelt at West Glacier,
Montana which began on April 8th in 1950, will begin on February 25th by 2089.

By 2050, the snow water equivalent (SWE) in snowpack in the Pacific Northwest will decline 30
percent more and by 2100 by 50 percent (OCAR 2017). Future streamflow magnitude and timing
in the Pacific Northwest is projected to shift toward higher winter runoff, lower summer and fall
runoff (Figures 14 and 15), and an earlier peak runoff, particularly in snow-dominated regions
(Naz et al. 2016).




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Figure 14. These projections, assuming continued increases in heat-trapping gas emissions (A2
scenario = RCP 8.5), illustrate: a) major losses in the water content of the snowpack that fills
western rivers (snow water equivalent, or SWE); b) significant reductions in runoff in California,
Arizona, and the central Rocky Mountains; and c) reductions in soil moisture across the
Southwest. The changes shown are for mid-century (2041–2070) as percentage changes from
1971–2000 conditions (Cayan et al. 2013, NCA 2014).




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Figure 15. Annual and seasonal streamflow projections based on the B1 (with substantial
emissions reductions), A1B (with gradual reductions from current emission trends beginning
around mid-century), and A2 (with continuation of current rising emissions trends)
CMIP3 scenarios for eight river basins in the western United States. The panels show
percentage changes in average runoff, with projected increases above the zero line and
decreases below. Projections are for annual, cool, and warm seasons, for three future decades
(2020s, 2050s, and 2070s) relative to the 1990s. (Source: U.S. Department of the Interior –
Bureau of Reclamation 2011; Data provided by L. Brekke, S. Gangopadhyay, and T. Pruitt
(NCA2014).

           a. Severe moisture/floods/snowmelt at extremes

Warming temperatures and increased winter precipitation are expected to increase flood risk for
many basins in the Pacific Northwest, particularly mixed rain-snow basins with near freezing
winter temperatures (Tohver et al. 2014). Salathe et al. (2014) calculated that the risk of 100 year
floods in the Pacific Northwest could double by mid-century as a result of heavier fall rains, and
winter rain on snow events.




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The University of Washington Climate Impacts Group predicts increased flooding in most
watersheds in Washington state:

       Projected changes in streamflow volume associated with the 100 year (1% annual
       probability) flood event, by basin type, in Washington State for the 2080s (2070-
       2099, relative to 1916-2006:

              Rain dominant watersheds: +18% (range: +11 to +26%)
              Mixed rain-snow watersheds: +32% (range: -32 to +132%)
              Snow dominant watersheds: -2% (range: -15 to 22%)

       Projected changes in heavy rainfall . . . are not included in the above projections.
       Preliminary research indicates an increase in the proportion of heavy rain events
       occurring in early fall. Both changes will likely increase flood risk in rain
       dominant and mixed rain and snow watersheds, especially west of the Cascade
       crest.11

           b. Severe droughts

In the Pacific Northwest, the median summer drought extent across multiple climate models is
less than 15% in the historical period, but jumps to over 50% during the 21st century. Changes
are for 2011–2050 under the high (RCP 8.5) emissions pathway relative to 1966–2005 (Naz et al.
2016). Naz et al. also project April 1 snow water equivalent to decline 20% during this period.
(Naz et al. 2016). The largest droughts, which cover nearly half of the region in the historical
period, cover nearly the entire region in future projections (Ahmadalipour et al. 2016).

Cayan et al. (2010) analyzed the historical frequency of major droughts in the desert Southwest,
finding that five droughts between 4–10 years of duration have occurred since 1950. Their future
hydrologic model projections for the Southwest using a downscaled ensemble of 12 GCMs, and
A2 emission scenario from the IPCC 4th Assessment project that there will be 9–13 major
droughts between 2050–2099. These projections mean that in the future, drought episodes will
be more common than “normal” climate, so that in fact normal is shifting to a permanently more
arid Southwest, with severe consequences for all human freshwater consumption in the region.

2.     Future impacts to terrestrial ecosystems with continued BAU emissions

As global emissions continue to rise, all global climate models project higher global
temperatures in the coming decades. With current national policies, temperatures in the Pacific
Northwest could rise 10 degrees Fahrenheit (°F). A 10°F increase in temperatures would result in
extreme and irreversible harm to terrestrial ecosystems, leading to more extreme weather events,
species extinctions, and sea level rise inundating major coastal cities worldwide. The resulting

11Snover, A.K., G.S. Mauger, L.C. Whitely Binder, M. Krosby, and I. Tohver. 2013. Climate
Change Impacts and Adaptation in Washington State: Technical Summaries for Decision
Makers. State of Knowledge Report prepared for the Washington State Department of Ecology.
Climate Impacts Group, University of Washington, Seattle at 6-11.


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harms to human society will also be substantial and would include disruption of agricultural
production, famine, disease and climate refugees fleeing uninhabitable countries generating
ongoing immigration crises. Tropical diseases and invasive pests are already moving north into
the Pacific Northwest and this trend will accelerate. A 10°F temperature increase by the end of
this century will virtually eliminate the winter snowpack and will at least quadruple our
wildfires. Figure 16 illustrates that spring and summer soil moisture will decline across the
western U.S. as higher evaporation rates consume the antecedent rainfall.




Figure 16. Projected end of the 21st century weighted CMIP5 multimodel average percent
changes in near surface seasonal soil moisture under the higher scenario (RCP 8.5). Stippling
indicates that changes are assessed to be large compared to natural variations. Hashing
indicates that changes are assessed to be small compared to natural variations. Blank regions (if
any) are where projections are assessed to be inconclusive (Figure source: NOAA NCEI and
CICS-NC). (USGCRP 2017).
           a. Vulnerabilities and projections for terrestrial ecosystems under changing
              climatic conditions.

Vegetation can adapt to changing local environmental conditions in a variety of ways (OCAR
2017). First, individual trees have inherent survival mechanisms that enable them to respond and
adapt to changing conditions. However, this ability to acclimate in place is limited even for the


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most tolerant species. Secondly, tree species can adapt by genetically evolving through natural
selection. This type of evolution takes several generations, reducing the potential for rapid
population acclimation but a latitudinal or elevational gradient within the species range may
provide the genetic diversity needed to manage future forests. Lastly, tree species can adapt to a
changing climate by migrating to areas with more suitable climate conditions. These three
mechanisms provide pathways for adaptation; however, the rate of climate induced shifts in
habitat are expected to outpace the reorganization of forest stand structure and species
composition through evolution and migration (Figure 17). Subalpine forests are most at risk, as
suitable habitat for these species is projected to be severely reduced or even non-existent by the
end of the 21st century (Vose et al. 2016).

Stand replacing fires open up the canopy and facilitate vegetation shift. With climate change, the
tree species that grow back after a fire may be different from those that previously existed
(Sheehan et al. 2015). This vulnerability may result in the loss of these high-elevation habitats,
affecting associated wildlife and biodiversity (Littell et al. 2013). High-elevation energy-limited
forests may experience increased tree growth under future warmer conditions and elevated
atmospheric CO2 concentrations. Dynamic global vegetation models consistently project the
contraction of sub-alpine forests and the expansion of temperate forests (Littell et al. 2013,
Sheehan et al. 2015). However current analyses show that climate and species habitat
requirements are changing faster than species can adapt, or move either in elevation or in latitude
(Dobrowski et al. 2016). These species maladapted to the new, and rapidly changing conditions
will die out.


                         Forest Vulnerability to Changing Climate
                                                        Figure 7.3. The figure shows a conceptual
                                                        climate envelope analysis of forest vulner-
                                                        ability under current and projected future
                                                        ranges of variability in climate parameters
                                                        (temperature and precipitation, or alter-
                                                        natively drought duration and intensity).
                                                        Climate models project increasing temper-
                                                        atures across the U.S. in coming decades,
                                                        but a range of increasing or decreasing
                                                        precipitation depending on region. Episodic
                                                        droughts (where evaporation far exceeds
                                                        precipitation) are also expected to increase
                                                        in duration and/or intensity (see Ch. 2:
                                                        Our Changing Climate). The overall result
                                                        will be increased vulnerability of forests
                                                        to periodic widespread regional mortality
                                                        events resulting from trees exceeding their
                                                                                          11
                                                        physiological stress thresholds. (Figure
                                                                                 11
                                                        source: Allen et al. 2010 ).




Figure 17. Conceptual figure showing how temperature and precipitation changes are moving
our forests into conditions of higher mortality (NCA 2014).



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The natural and higher elevation forests of the Pacific Northwest are already showing
acceleration of insect epidemics, forest disease and wildfire. Future projections suggest both of
these disturbance dynamics will increase even further as climate change progresses (Figure 18).
Currently snow dominated subalpine forests may transition to other forest types as a result of
declining snowpack, increased summer forest stress and disturbance rates.




Figure 18. Projections of future insect and wildfire disturbance dynamics for the Pacific
Northwest (NCA 2014).

           b. Climate Change is already significantly harming federal public lands

Federal public lands are already being impacted by climate change, including from the
aforementioned drought conditions, wildfires, insect outbreaks, harm to species, and from


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volatile weather patterns. As documented in Figure 18, future wildfire activity may be 200–
600% higher than today in the Pacific Northwest. Our conclusion in the Forests chapter of the
2014 National Climate Assessment is that accelerating disturbance and mortality are the single
greatest threats to US forests, and negative impacts are already occurring. A similar climate
change projection for the entire western United States shows that even a 1 C increase in global
temperatures may result in increased wildfire activity throughout the West (Figure 19).




Figure 19. Projected wildfire increases in the western U.S.: “Percent increase (relative to
1950–2003) in median annual area burned for ecoprovinces of the West with a 1ºC increase in
global average temperature.” (Source: National Research Council 2011).

According to Defendant U.S. Department of Agriculture, sixty million Americans obtain their
drinking water from sources that originate on 193 million acres of national forest and grasslands
and those sources are under threat from drought conditions in many places (Vose et al. 2016).
According to Defendant U.S. Department of the Interior, it “manages one-fifth of the land in the



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United States, 35,000 miles of coastline, and 1.7 billion acres of the Outer Continental Shelf.” 12
Ecosystem disturbance rates of the magnitude shown in Figures 18 and 19 will very likely
degrade drinking water sources in many areas of the West.

3.        Protection of terrestrial ecosystems in the U.S. require urgent and rapid reductions
          of GHG emissions.

If humanity reduces carbon emissions significantly in the near-term, the increase in global
temperatures could be kept to 1.5°C in the short-term, stabilizing at 1°C by the end of the century
(Hansen et al. 2013). Any additional increase in global temperatures will cause substantial
changes to global terrestrial ecosystems. I, and other scientists, are concerned that there may be
some poorly understood tipping points, such as melting of the Greenland ice-sheet increasing sea
level that, once passed, make the melt-out unstoppable. However, most system responses are
thought to be proportional. Thus reducing carbon emissions reduces CO 2 in the atmosphere
proportionally, which reduces temperature increases and impacts proportionally. It is not too late
to take action to slow and eventually halt climate change. In my expert opinion it is critical that
action to reduce carbon emissions and increase carbon sequestration occur immediately. The
federal government has for 40 years had knowledge, information, and scientific
recommendations that it needed to transition the nation off of fossil fuels in order to first prevent
against, and now try to stop, catastrophic climate change. We are well beyond the maxim: “If
you find yourself in a hole, quit digging.”

                                          CONCLUSION
Atmospheric concentrations of carbon dioxide and other greenhouse gases (GHG) have been
increasing at substantial rates as a consequence of human combustion of fossil fuels. This
increase in GHG concentrations is causing global temperatures to increase, resulting in reduction
in the extent of polar sea ice, glacial mass, and of regional concern, seasonal snowpack. This in
turn is causing reduced summer flows in rivers, increased wildfires and insect epidemics in
forests. These adverse ecological impacts are also harming wildlife. These impacts are evident
both globally and in the western United States region. Global and national temperatures will
continue to increase as a result of failure to control carbon emissions.

The United States Government has known in massive detail the science of global warming for at
least 40 years. Should greenhouse gas emissions in the United States continue on a business as
usual (BAU) course, the impacts described in this report will worsen and the means of
preventing the worst of the impacts we project throughout the century will be limited. Future
projections of increasing atmospheric CO2 will continue the geographic expanse and severity of
these negative impact trends for the foreseeable future. The inaction of our government over this
time to reduce emissions as needed to stabilize the climate system (Hansen et al. 2013) will serve
to penalize future generations of Americans, including the Plaintiffs, for as far into the future as I
can imagine. The only solution is swift decarbonization of our energy system and urgent efforts
to protect the terrestrial biosphere so that it can sequester more carbon.



12   U.S. Department of the Interior. Climate Change. https://www.doi.gov/climate.


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Signed this 3rd day of April, 2018 in Missoula, Montana.




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                                                 EXHIBIT A: CV

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       B.S.       Botany; Oregon State University, Corvallis, 1972

Experience:
        2017 -             Regents Professor Emeritus
        2007-2017          Regents Professor, University of Montana
        2008               Visiting Professor, Universitat de Bodenkultur, Vienna, Austria
        1988-2007          Professor, Forest Ecology, College of Forestry & Conservation, University of Montana
        2005                         Visiting Professor, University of Firenze, Florence, Italy
        2003                         Professor, Visiting McMaster Fellow, CSIRO Land and Water, Canberra, ACT
                           Australia
        1993                         Visiting Sabbatical Scientist, Dept of Plant Ecology, Lund University, Sweden
        1986-87                      Visiting Sabbatical Scientist, CSIRO Division of Forest Research, Canberra,
                           Australia
        1983-1988          Associate Professor, Forest Ecophysiology, School of Forestry, University of Montana
        1979-1983          Assistant Professor, Forest Ecophysiology, School of Forestry, University of Montana
        1979                         Senior Research Associate, Natural Resource Ecology Laboratory, Colorado
                           State University
        1976-1979          Research Forester, Forest and Mtn Meteorology Project, Rocky Mtn Forest and Range
                           Experiment Station, Fort Collins, Colorado
        1976-1979          Graduate Research Assistant, Dept. of Forest and Wood Sciences, Colorado State
                           University
        1974-1976          Research Assistant, Coniferous Forest Biome, Oregon State University
        1973-1974          Forest Ecologist, Environmental Associates Inc., Corvallis, Oregon


Society Affiliations:
        American Geophysical Union
        American Meteorological Society
        Ecological Society of America


Awards, Honors:
       Personal Audience Her Royal Highness Princess Maha Chakri Sirindhorn, Bangkok, Thailand
       NASA-USGS 2015 William T. Pecora Award
       ISI World’s Most Influential Minds, Geosciences 2014, 2015, 2017
       Montana Environmental Information Center Conservationist of the Year 2012
       Doctor Honoris Causa University of Natural Resources and Life Sciences, Vienna Austria 2012
       Honorary Professor, Environment Institute and Dept. of Geography, University College London 2009
       Oregon State University Distinguished Alumni Fellow 2009
       E. O. Wilson Biodiversity Technology Pioneer Award 2009
       Chapter lead author of IPCC 2007 report, awarded the Nobel Peace Prize 2007
       Univ. Of Montana Presidential Scholar 2008
       University of Montana, Lud Browman Award for scientific writing, 2007
       Oregon State Univ. College of Forestry, Distinguished Alumni, 2006
       Burk-Brandenburg Montana Conservation Award, 2006



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        ISI Highly Cited Scientist Designation 2004-2013
        Fellow of the American Geophysical Union, 2002
        University of Montana BN Faculty Achievement Award, 1991
        University of Montana, Distinguished Scholar, 1990

Nat’l/Int’l Committee Appointments:
          NASA Science Committee 2013 - 2017
          NASA Earth Science Subcommittee 2009 – 2015, Chair 2013- 2017
          NOAA Climate Working Group, 2009 - 2014
          National Academy of Sciences, NRC Committee on Ecological Impacts of Climate Change, 2008.
          NCAR CCSM Land Model Working Group (LMWG) Co-Chair, 2006-2008.
          AGU Committee of Fellows 2006-2008.
          Dept of Energy, Terrestrial Carbon Science Research Program, Co-Chair, 2005-2006.
          National Research Council, NASA Earth Science Decadal Survey, 2005-2006.
          NRC Committee on Environmental Satellite Data Utilization 2002-2005.
          Intergovernmental Panel on Climate Change, Chapter Lead Author 2004-2007.
          International Geosphere-Biosphere Programme Science Executive Committee 2004-2007.
          National Research Council: Committee on Earth Studies 2004-2006.
          NCAR CCSM Land Model Working Group (LMWG) Co-Chair, 2002-2004.
          Interagency Carbon Cycle Science Committee 2002 – 2005.
          NAS-NRC Review of NASA Earth Science Enterprise Science Plan for 2000-2010.
          NASA - Earth Observing System MODIS Science Team Member, 1989-2007.
          NCAR Climate System Model (CSM) Advisory Board, 1996-2000.
          NASA Mission to Planet Earth Biennial Review Panel, 1997.
          Terrestrial Observation Panel for Climate of the World Meteorological Organization, 1995-2001.
          National Academy of Sciences, NRC, Climate Research Committee, 1995-2001.
          NRC Panel on Climate Observing System Status, 1998.
          NSF - National Center for Ecological Analysis and Synthesis, Science Advisor Board, 1994-1997.
          NASA Earth Observing System, Land Science Panel, Chair 1994-2000.
          World Climate Research Program, International Land Surface Climatology Science Panel, 1994-1996.
          World Climate Research Program, Global Terrestrial Observing System Committee, 1994-1995.
          International Geosphere-Biosphere Program, Biospheric Aspects of the Hydrologic Cycle, Vice-Chair, 1991-
              1996.
          National Science Foundation, Ecosystem Studies Program panel member 1991-1993.
          World Climate Research Program - WCRP/IGBP Land Surface Experiments, 1990-1994.
          NASA Earth Science and Applications Advisory Subcommittee, 1990-1993.
          NASA Boreal Forest Ecosystem-Atmosphere Study (BOREAS) Steering Committee, 1989-1991.
          International Geosphere-Biosphere Program - Committee on Global Hydrology, 1988-1990.
          NASA - Terrestrial Ecosystems Program Advisory Group, 1988-1990.
          NASA - Management Operations Working Group, 1988-1990.
          NASA - Interdisciplinary Studies Review Panel, 1986.
          NASA - MODIS Instrument Panel, 1984-1986.
          NASA - Global Biology Review Panel, 1983-1984.
          National Academy of Sciences, Space Science Board participant, 1982-1984.
          NASA - Land Related Global Habitability Program Planning, 1982-1983.

Proposal Reviewer:
       American Institute of Biological Sciences
       California Space Institute
       Canada Foundation for Innovation
       National Aeronautics and Space Administration
       National Oceanic and Atmospheric Administration
       National Environmental Research Council of the United Kingdom
       National Science Foundation
       Natural Sciences and Engineering Research Council of Canada
       U.S. Dept. of Energy
       U.S. Environmental Protection Agency
       U.S. Geological Survey
       U.S.D.A. Cooperative Research Program
       Western Regional Center of the National Institute for Global Environmental change




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Journal Referee:
        Agricultural and Forest Meteorology
        Agronomy Journal
        AI Applications in Natural Resource Management
        American Naturalist
        Australian Journal of Forest Research
        Bioscience
        Canadian Journal of Botany
        Canadian Journal of Forest Research
        Canadian Journal of Remote Sensing
        Climatic Change
        Climate Research
        Ecological Applications
        Ecology
        Forest Science
        Global Change Biology
        Int'l Journal of Hydrological Processes
        Int'l Journal of Remote Sensing
        Journal of Applied Meteorology
        Journal of Climate
        Journal of Environmental Quality
        Journal of Geophysical Research
        Journal of Hydrology
        Journal of Range Management
        National Geographic Research and Exploration
        Nature
        Northwest Science
        Remote Sensing of Environment
        Science
        Tellus
        The National Academies
        Tree Physiology
        USFS Intermountain Forest and Range Experiment Station
        USFS Pacific Northwest Forest and Range Experiment Station
        USFS Rocky Mountain Forest and Range Experiment Station
        Water, Air and Soil Pollution
        Water Resources Research




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               EXHIBIT B: LIST OF PUBLICATIONS (LAST TEN YEARS)

Jones, M.O., S.W. Running, J.S. Kimball, N.P. Robinson, and B.W. Allred. (2018). Terrestrial
   primary productivity indicators for inclusion in the National Climate Indicators System.
   Climatic Change https://doi.org/10.1007/s10584-018-2155-9.

Kimball, H. L., Selmants, P. C., Moreno, A., Running, S. W., & Giardina, C. P. (2017).
   Evaluating the role of land cover and climate uncertainties in computing gross primary
   production in Hawaiian Island ecosystems. PloS one, 12(9), e0184466.

Robinson, N. P., Allred, B. W., Jones, M. O., Moreno, A., Kimball, J. S., Naugle, D. E.,
   Running,S. & Richardson, A. D. (2017). A Dynamic Landsat Derived Normalized Difference
   Vegetation Index (NDVI) Product for the Conterminous United States. Remote Sensing,
   9(8), 863.

Hasenauer, H., Neumann, M., Moreno, A., & Running, S. (2017). Assessing the resources and
   mitigation potential of European forests. Energy Procedia, 125, 372-378.

Madani, N., Kimball, J. S., & Running, S. W. (2017). Improving Global Gross Primary
  Productivity Estimates by Computing Optimum Light Use Efficiencies Using Flux Tower
  Data. Journal of Geophysical Research: Biogeosciences, 122(11), 2939-2951.

Mildrexler, D. J., Zhao, M., Cohen, W. B., Running, S. W., Song, X. P., & Jones, M. O. (2017).
   Thermal anomalies detect critical global land surface changes. Journal of Applied
   Meteorology and Climatology, DOI: 10.1175/JAMC-D-17-0093.1
   2018.

Madani, N., Kimball, J. S., Ballantyne, A. P., Affleck, D. L., Bodegom, P. M., Reich, P. B., ... &
  Zhao, M. (2018). Future global productivity will be affected by plant trait response to
  climate. Scientific reports, 8(1), 2870.

Ballantyne, Ashley,William Smith,William Anderegg, Pekka Kauppi, Jorge Sarmiento, Pieter
   Tans, Elena Shevliakova, Yude Pan, Benjamin Poulter, Alessandro Anav,Pierre
   Friedlingstein, Richard Houghton, and Steven Running. (2017) Accelerating net terrestrial
   carbon uptake during the warming hiatus due to reduced respiration. Nature Climate Change,
   doi: 0.1038/2034

Wang, J., J. Dong, Y. Yi, G. Lu, J. Oyler, W. K. Smith, M. Zhao, J. Liu, and S. Running. (2017).
  Decreasing net primary production due to drought and slight decreases in solar radiation in
  China from 2000 to 2012. J. Geophys. Res. Biogeosci., 122, 261–278,
  doi:10.1002/2016JG003417.

Hidy, Dóra, Zoltán Barcza, Hrvoje Marjanovi, Maša Zorana Ostrogovi Sever, Laura Dobor,
   Györgyi Gelybó, Nándor Fodor, Krisztina Pintér, Galina Churkina, Steven Running, Peter
   Thornton, Gianni Bellocchi, László Haszpra, Ferenc Horváth, Andrew Suyker, and Zoltán



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   Nagy. (2016). Terrestrial ecosystem process model Biome-BGCMuSo v4.0: summary of
   improvements and new modeling possibilities. Geosci. Model Dev., 9, 4405–4437.

Sanchez-Ruiz, Sergio, Alvaro Moreno, Maria Piles, Fabio Maselli, Arnaud Carrara, Steven
   Running, and Maria Amparo Gilabert. (2016). Quantifying water stress effect on daily light
   use efficiency in Mediterranean ecosystems using satellite data. International Journal of
   Digital Earth, DOI: 10.1080/17538947.2016.1247301.

Ahrestani, Farshid S., Mark Hebblewhite, William Smith, Steven Running, and Eric Post.
   (2016). Dynamic complexity and stability of herbivore populations at the species distribution
   scale. Ecology, 97(11): 3184-3194.

Yu, Zhen, Jingxin Wang, Shirong Liu, Shilong Piao, Philippe Ciais, Steven W. Running,
   Benjamin Poulter, James S. Rentch and Pengsen Sun. (2016) Decrease in winter respiration
   explains 25% of the annual northern forest carbon sink enhancement over the last 30 years.
   Global Ecology and Biogeography, doi: 10.1111/geb.12441.

He, Mingzhu, John S. Kimball, Steven Running, Ashley Ballantyne, Kaiyu Guan, and Fred
   Huemmrich. (2016) Satellite detection of soil moisture related water stress impacts on
   ecosystem productivity using the MODIS-based photochemical reflectance index. Remote
   Sensing of Environment, 186: 173–183.

Zhang, KE, John S. Kimball, and Steven W. Running. (2016) A review of remote sensing based
   actual evapotranspiration estimation. WIREs Water, doi: 10.1002/wat2.1168.

Oyler, J.W., S.Z. Dobrowski, Z.A. Holden, and S.W. Running. (2016) Remotely sensed land skin
   temperature as a spatial predictor of air temperature across the conterminous United States. J.
   Appl. Meteorol. Climatol.,http://dx.doi.org/10.1175/JAMC-D-15-0276.1.

Allred, B. W., Smith W. K., Twidwell D., Haggerty J. H., Running S. W., Naugle D. E., and
    Fuhlendorf S. D. (2015) Ecosystem services lost to oil and gas in North America. Science,
    348(6233).

McDowell, N., Coops N. C., Beck P., Chambers J. Q., Gangodagamage C., Hicke J. A., Huang
  C., Kennedy R. E., Krofcheck D. J., Litvak M., Meddens A. J. H., Muss J., Litvak M.,
  Negron-Juarez R., Peng C., Schwantes A. M., Swenson J. J., Vernon L. J., Williams A. P.,
  Xu C., Zhao M., Running S. W., and Allen C. D. (2015). Global satellite monitoring of
  climate-induced vegetation disturbances. Trends in Plant Science, 20(2): 114-123.

Mora, C., Caldwell I. R., Caldwell J. M., Fisher M. R., Genco B. M., and Running S. W. (2015)
  Suitable Days for Plant Growth Disappear under Projected Climate Change: Potential Human
  and Biotic Vulnerability. PLoS Biol, 06/2015, 13(6).

Oyler, J. W., Dobrowski S. Z., Ballantyne A. P., Klene A. E., and Running S. W. (2015)
   Artificial amplification of warming trends across the mountains of the western United States.
   Geophysical Research Letters, 01/2015, 42(1).



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Running, S. W. (2014) A regional look at HANPP: human consumption is increasing, NPP is
   not. Environmental Research Letters, 11/2014, 9(11).

Reeves, M. C., Moreno A. L., Bagne K. E., and Running S. W. (2014) Estimating climate change
   effects on net primary production of rangelands in the United States. Climatic Change,
   09/2014, 126(3—4).

Poulter, B., Frank D., Ciais P., Myneni R. B., Andela N., Bi J., Broquet G., Canadell J. G.,
   Chevallier F., Liu Y. Y., et al. (2014) Contribution of semi-arid ecosystems to interannual
   variability of the global carbon cycle. Nature, 04/2014, 509(7502): p.600–603.

Madani, N., Kimball J. S., Affleck D. L. R., Kattge J., Graham J. S., van Bodegom P. M., Reich
  P. B., and Running S. W. (2014) Improving ecosystem productivity modeling through
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  Research: Biogeosciences, 08/2014, 119: 1–15.

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   Oliff, and S. W. Running. (2014). Exposure of U.S. National Parks to land use and climate
   change 1900 – 2100. Ecological Applications, 24(3): 484-502.

Pan, S., Tian H., Dangal S. R. S., Ouyang Z., Tao B., Ren W., Lu C., and Running S. W. (2014)
   Modeling and Monitoring Terrestrial Primary Production in a Changing Global Environment:
   Toward a Multiscale Synthesis of Observation and Simulation. Advances in Meteorology,
   04/2014, 2014(965936): 1–17.

Smith, W. K., C. C. Cleveland, S. C. Reed, and S. W. Running. (2014) Agricultural conversion
   without external water and nutrient inputs reduces terrestrial vegetation productivity.
   Geophys. Res. Lett., 41, doi:10.1002/2013GL058857.

Kang, Sinkyu; Running, Steven W.; Kimball, John S. Daniel B. Fagre,Andrew Michaelis, David
   L. Peterson, Jessica E. Halofsky, and Sukyoung Hong. (2014). Effects of spatial and
   temporal climatic variability on terrestrial carbon and water fluxes in the Pacific Northwest,
   USA. Environmental modelling & software, 51: 228-239.

Oyler, J.W., A.P.Ballantyne, K. Jencso, M.Sweet, and S.W.Running. (2014) Creating a daily air
   temperature dataset for the conterminous United States using homogenized station data and
   remotely sensed skin temperature. Int. J. Climatology, DOI 10.1002/joc.4127.

Reeves, M. C., Moreno A. L., Bagne K. E., and Running S. W. (2014) Estimating climate change
   effects on net primary production of rangelands in the United States. Climatic Change,
   09/2014, 126(3-4).

Bastos, A., Running S. W., Gouveia C., and Trigo R. M. (2013) The global NPP dependence on
   ENSO: La Niña and the extraordinary year of 2011. Journal of Geophysical Research:
   Biogeosciences, 118(3): 1247–1255.



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Ruhoff, A. L.; Paz, A. R.; Aragao, L. E. O. C.; Mu, Q., and Running, S.W. (2013) Assessment of
   the MODIS global evapotranspiration algorithm using eddy covariance measurements and
   hydrological modelling in the Rio Grande basin. Hydrological sciences journal, 58(8): 1658-
   1676.

Haberl, Helmut; Erb, Karl-Heinz; Krausmann, Fridolin; Smith, W.K., and Running, S.W. (2013).
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Mills, L. Scott; Zimova, Marketa; Oyler, Jared; and Running, S.W. (2013) Camouflage
   mismatch in seasonal coat color due to decreased snow duration. Proceedings of the National
   Academy of Sciences, 110: 7360-7365.

Bohn, Theodore J.; Livneh, Ben; Oyler, Jared W.; Running, S.W. (2013) Global evaluation of
   MTCLIM and related algorithms for forcing of ecological and hydrological models.
   Agricultural and Forest Meterology, 176: 38-49.

Cleveland, C.C., B.Z Houlton, WKSmith, AR Marklein, S.C Reed, W.P.Parton, S.J.DelGrasso,
   and S.W.Running (2013) Patterns of new versus recycled primary production in the
   terrestrial biosphere. Proc Nat Acad Sci, 110: 12733 - 12737.

Running,S.W. (2013). Book Review: Approaching the Limits. Science, 339: 1276-1277.

Mu, Q., M. Zhao, J. S. Kimball, N. G. McDowell, and S. W. Running. (2013) A Remotely
  Sensed Global Terrestrial Drought Severity Index. Bulletin of the American Meteorological
  Society, 94: 83-98.

Tallis, H. H. Mooney, S. Andelman, P. Balvanera, W. Cramer, D. Karp, S. Polasky, B. Reyers,
    T. Ricketts, S. Running, K. Thonicke, B. Tietjen, and A. Walz. (2012) A global system for
    monitoring ecosystem service change. Bioscience, 62: 977-986

Running, S.W. (2012) A measurable planetary boundary for the biosphere. Science, 337: 1458-
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Hasenauer, H., Petritsch R., Zhao M., Boisvenue C., and Running S. W. (2012) Reconciling
   satellite with ground data to estimate forest productivity at national scales. Forest Ecology
   and Management, 276: 196-208.

Smith, W. K., Zhao M., and Running S. W. (2012) Global Bioenergy Capacity as Constrained by
   Observed Biospheric Productivity Rates, BioScience, 62:10:911–922.

Leppi, J. C., DeLuca T. H., Harrar S. W., and Running S. W. (2012) Impacts of climate change
   on August stream discharge in the Central-Rocky Mountains. Climatic Change, 06/2012,
   112(3-4): 997–1014.




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Smith, W. K., Cleveland C. C., Reed S. C., Miller N. L., and Running S. W. (2012) Bioenergy
   Potential of the United States Constrained by Satellite Observations of Existing Productivity.
   Environmental Science and Technology, 02/2012.

Mu, Q., Zhao M., and Running S. W. (2011) Evolution of hydrological and carbon cycles under
  a changing climate. Hydrological Processes, 11/2011, 25: 4093–4102.

Mildrexler, D. J., Zhao M., and Running S. W. (2011) Satellite Finds Highest Land Skin
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Mildrexler, D. J., Zhao M., and Running S. W. (2011) A global comparison between station air
   temperatures and MODIS land surface temperatures reveals the cooling role of forests,
   Journal of Geophysical Research, Aug. 16(G03025).

Zhao, M., and Running S. W. (2011) Response to Comments on "Drought induced Reduction in
   Global Terrestrial Net Primary Production from 2000 Through 2009". Science, Aug,
   333(6046): 1093.

Zhao, M., Running S. W., Heinsch F. A., and Nemani R. R. (2011) MODIS-Derived Terrestrial
   Primary Production. Land Remote Sensing and Global Environmental Change: NASA's
   Earth Observing System and the Science of ASTER & MODIS, p.635-660.

Mu, Q., M. Zhao, and S.W. Running. (2011) Improvements to a MODIS global terrestrial
  evapotranspiration algorithm. Remote Sensing of Environment, 115: 1781-1800.

Zhao, M., and S.W. Running. (2010) Drought Induced Reduction in Global Terrestrial Net
   Primary Production from 2000 through 2009. Science, 329: 940-943.

Boisvenue, C., and S. Running. (2010) Simulations show decreasing carbon stocks and potential
   for carbon emissions for Rocky Mountain forests in the next century. Ecological
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Di Vittorio, A. V., R. S. Anderson, J. D White, N. L., Miller, and S.W. Running. (2010)
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Running, S.W.R. (2010) EOS Is More Important Than Ever. Earthwide Communications LLC.

Allen, C.D., A.K. Macalady, H. Chenchouni, D. Bachelet, N. McDowell, M. Vennetier, T.
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    Castro, N. Demidova, J.H. Lim, G. Allard, S.W. Running, A. Semerci, and N. Cobb. (2010)
    A global overview of drought and heat induced tree mortality reveals emerging climate
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Le Quere, C., M.R. Raupach, J. G. Canadell, G. Marland, L. Bopp, P. Ciais, T. J. Conway, S.C.
   Doney, R.A. Feely, P. Foster, P. Friedlingsten, K. Gurney, R.A. Houghton, J.I. House, C.
   Huntingford, P.E. Levy, M.R. Lomas, J. Majkut, N. Metzl, J. P. Ometto, G.P. Peters, C.
   Prentice, J.T. Randerson, S.W.R. Running, J.L. Sarmiento, U. Schuster, S. Sitch, T.
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Running, S.W., R.R.Nemani, J.R.G.Townshend, and D.D.Baldocchi. (2009) Next Generation
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Nightingale, J., and S. W. Running. (2009) Long Term Global Monitoring of Vegetation
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Mildrexler, D.J., M. Zhao, and S.W. Running. (2009) Testing a MODIS Global Disturbance
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Renzullo, L.J., D.J. Barrett, A.S. Marks, M.J. Hill, J.P. Guerschman, Q. Mu, and S.W. Running.
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Stockli, R., D.M. Lawrence, G.–Y. Niu, K.W. Oleson, P.E.Thornton, Z.-L. Yang, G.B. Bonan,
   A.S. Denning, and S.W. Running. (2008) Use of FLUXNET in the Community Land Model
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   Nemani. (2008) Satellite-based estimation of surface vapor pressure deficits using MODIS
   land surface temperature data. Remote Sensing of Environment, 112: 42-155.




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Mu, Q., M. Zhao, S. W. Running, M. Liu, and H. Tian. (2008) Contribution of increasing CO2
  and climate change to the carbon cycle in China’s ecosystems. Journal of Geophysical
  Research, 113: G01018.

Zhao, M., and S. W. Running. (2008) Remote Sensing of Terrestrial Primary Production and
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   (2008) Satellite-based model detection of recent climate-driven changes in northern high-
   latitude vegetation productivity. Journal of Geophysical Research, 113: G03033.

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Mu, Q., F. A. Heinsch, M. Zhao, and S. W. Running. (2007) Development of a global
  evapotranspiration algorithm based on MODIS and global meteorology data. Remote
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  stress controls on primary production in biogeochemical and remote sensing based models.
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Zhang. K, J. S. Kimball, M. Zhao, W. C. Oechel, J. Cassano, and S. W. Running. (2007)
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                                         EXHIBIT C:
  STATEMENT OF PREVIOUS TESTIMONY WITHIN PRECEDING FOUR YEARS


In 2017, I provided expert testimony in State of Washington v. Taylor, Case No: 6Z0117975
(Spokane Cnty. District Court 2017). In 2015, I provided expert testimony in City of Missoula v.
Mountain Water Co., 378 P.3d 1113 (Mont. 2016).




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             EXHIBITS E–G: VIDEO EXHIBITS
Exhibits F–G are video exhibits, filed in hard copy with the Court.
Exhibit E is a spreadsheet providing the precise data and
information for Exhibits F–G and is attached below.
                                                  Case 6:15-cv-01517-AA                              Document 264-1                Filed 06/28/18            Page 54 of 54
               EXHIBIT E: SPREADSHEET OF DATA AND INFORMATION USED IN EXHIBITS F–G
Expert Report of Dr.   Exhibit                                                  Timelapse                                                                               Additional                                Camera
                                   Description                     Name                              Frame Grab   Place            Country         Original File Name                  GPS Coordinates Dates      Person /
Steve Running                                                                   information                                                                             Metadata                                  Source


PINE BEETLE KILL


                                                               RUNNING_EXHI
                       Exhibit E   PDF Spreadsheet of Exhibits BITS_spreadshe
                                   for Dr. Steve Running       et
                                                                                                                                                                       Nikon, 2896 x
                                                                                                                                                   WB-02_20110722-1345 1944; 20mm,
                                                                                                                                                   16.JPG              f-stop 14,                      7/22/11
                                   Time-lapse video of a                        Series of 44 still                Southern Wind                                        1/10s
                       Exhibit F   Whitebark Pine tree dying       WB-02        images to create                  River Range,     United States                                                                  James Balog
                                   from pine-beetle infestation.                timelapse                         Wyoming                                              Nikon, 2896 x
                                                                                                                                                   WB-02_20111007-1945 1944; 20mm,                     10/7/11
                                                                                                                                                   05.JPG              f-stop 14,
                                                                                                                                                                       1/200s
                                                                                                                                                                       Nikon, 3872 x
                                                                                                                                                   RM02_20110611_1755 2592; 24mm,
                                                                                                                                                   46.JPG              f-stop 8,                       6/11/11
                                   Time-lapse video of a group                  Series of 72 still                Rocky Mountain                                       1/400s        N40.341263
                       Exhibit G   of lodgepole pine trees dying RM-02          images to create                  National Park,   United States                                                                  James Balog
                                   from pine-beetle infestation.                timelapse                         Colorado                                             Nikon, 3872 x W105.601527
                                                                                                                                                   RM-02_20111127-1959 2592; 24mm,
                                                                                                                                                   38.JPG              f-stop 8,                       11/27/11
                                                                                                                                                                       1/500s




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